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 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         CASE NO . . 2:19-MJ-0063 KJM

12                                Plaintiff,

13                         v.
                                                       [PROPOSED] ORDER TO UNSEAL REDACTED
14   ANDREA ALESSANDRINI,                              COMPLAINT AND CASE

15                                 Defendant,

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17          The government respectfully request that the redacted complaint and this case be unsealed and

18   that all other documents remain sealed is GRANTED.

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20    Dated: May 2, 2019

21                                                       HON. ALLISON CLAIRE
                                                         U.S. Magistrate Judge
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